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				ERLANDSON v. COPPEDGE2019 OK 66Case Number: 118169Decided: 10/21/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 66, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 




ASHLEY ERLANDSON, Petitioner,
v.
THE HONORABLE WALLACE COPPEDGE, Respondent,
and
DENNIS RAY WAGONER, JR., Real Party in Interest.





ORDER


Petitioner Ashley Erlandson's application to assume original jurisdiction is granted. Original jurisdiction is assumed. Okla. Const. art. VII, § 4. A writ of mandamus is issued to Marshall County District Court Judge Wallace Coppedge, or any other assigned district court judge, in Ashley Erlandson v. Dennis Ray Wagoner, Jr., No. FD-2019-27 (Marshall Cnty.).

The Marshall County District Court interlocutory order of June 26, 2019, entitled Summary Order, is hereby vacated. Oklahoma recognizes two forms of marriage: ceremonial and common law. State ex rel. Oklahoma Bar Ass'n v. Casey, 2012 OK 93, ¶ 14, 295 P.3d 1096, 1100. The legislative amendments to 43 O.S., § 5 in 1999 did not abolish common law marriage, but only reformatted the statute to add subsections. 43 O.S. Supp. 1999, § 5. The Legislature added subpart (E) of § 5 in 1959. 43 O.S. Supp.1959, § 5. The Court has continually recognized common law marriage since that legislative change in 1959. See Hill v. Shreve, 1968 OK 182, ¶ 4, 448 P.2d 848, 850-51; Rath v. Maness, 1970 OK 111, 470 P.2d 1011, 1013; Mueggenborg v. Walling, 1992 OK 121, 836 P.2d 112, 113-14. For the Legislature to abolish common law marriage, it must be explicit. See Fent v. Henry, 2011 OK 10, ¶ 11, 257 P.3d 984, 991; In re Love's Estate, 1914 OK 332, ¶ 0, 142 P. 305, 305 (Syllabus by the Court No. 3).

The Marshall County District Court is directed to proceed with Petitioner Ashley Erlandson's petition filed on April 12, 2019.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 21st DAY OF OCTOBER, 2019.


/S/CHIEF JUSTICE



Gurich, C.J., Darby, V.C.J., Kauger, Winchester, Edmondson, Colbert, Combs, and Kane, JJ., concur.



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	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
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		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;1914 OK 332, 142 P. 305, 42 Okla. 478, In re LOVE'S ESTATEDiscussed
&nbsp;1992 OK 121, 836 P.2d 112, 63 OBJ        2315, Mueggenborg v. WallingDiscussed
&nbsp;1968 OK 182, 448 P.2d 848, HILL v. SHREVEDiscussed
&nbsp;1970 OK 111, 470 P.2d 1011, RATH v. MANESSDiscussed
&nbsp;2011 OK 10, 257 P.3d 984, FENT v. HENRYDiscussed
&nbsp;2012 OK 93, 295 P.3d 1096, STATE ex rel. OKLAHOMA BAR ASSOCIATION v. CASEYDiscussed
Title 43. Marriage
&nbsp;CiteNameLevel

&nbsp;43 O.S. 5, Issuance and Validity of Marriage LicenseDiscussed at Length


	
	








				
					
					
				

		
		

	
		
			
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